                           UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

                                                     )
IN RE:                                               )      CHAPTER 11
                                                     )
            REO HOLDINGS, LLC,                       )      CASE NO. 16-03349
                                                     )
                  DEBTOR.                            )      JUDGE MASHBURN
                                                     )

     ORDER GRANTING THIRD INTERIM APPLICATION FOR ALLOWANCE OF
          COMPENSATION AND REIMBURSEMENT OF EXPENSES OF
                        MANIER & HEROD P.C.


            This matter is before the Court on the Third Interim Application for Allowance of

Compensation and Reimbursement of Expenses of Manier & Herod, P.C. (the “Application”) filed

on September 26, 2018, and there appearing that no timely objections to the Application having

been filed, the Court finds that: (a) it has jurisdiction over this proceeding; that this is a core

proceeding; (b) notice of the Application was appropriate and no further notice is necessary; (c)




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the relief sought in the Application is in the best interests of the Debtor, 1 its estate, and its creditors;

and (d) the fees and expenses requested by Manier & Herod, P.C. in the Application are reasonable,

necessary, and related to the services rendered to the Debtor’s estate and the Plan.

            IT IS THEREFORE ORDERED THAT:

                    The PCDA is authorized to compensate Manier & Herod, P.C. $101,245.64 for

services rendered and expenses incurred as Special Counsel for the estate in this chapter 11 case.

                    The PCDA is immediately authorized to pay the above fees and reimburse the

above expenses to Manier & Herod, P.C., upon the entry of this Order.

                    The Court shall retain jurisdiction to hear and determine all matters arising from

the implementation of this Order.

            SO ORDERED.

    THIS ORDER WAS SIGNED AND ENTERED ELECTRONICALLY AS INDICATED
                      AT THE TOP OF THE FIRST PAGE.



Submitted for Entry:

MANIER & HEROD, P.C.

/s/ Robert W. Miller
Michael E. Collins (Bar No. 16036)
Robert W. Miller (Bar No. 31918)
1201 Demonbreun St., Ste. 900
Nashville, TN 37203
Tel: 615-244-0030
Fax: 615-242-4203
mcollins@manierherod.com

Counsel for the Post-Confirmation
Distribution Agent




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    All capitalized terms not defined herein have the meanings ascribed them in the Application.

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